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 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:05CR00048 AWI-BAM
12                                 Plaintiff,             STIPULATION REGARDING
                                                          EXCLUDABLE TIME PERIODS
13                  v.                                    UNDER SPEEDY TRIAL ACT;
                                                          FINDINGS AND ORDER
14   JESUS MEJIA,
      aka Elixandro Nevares Lopez,
15
                                   Defendant.
16

17                                              STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant, by
19 and through his counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for a status conference on Tuesday, May 27,
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     2014, at 1:00 p.m.
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            2.      By this stipulation, defendant now moves to continue the matter to Monday, July 28,
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24 2014, at 1:00 p.m. Plaintiff concurs with this request.

25          3.      The parties agree and stipulate, and request that the Court find the following:

26          a.      Counsel for defendant desires additional time to consider the filing of motions to raise
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     a legal issue, discuss the matter with his client, conduct further investigation, and review the
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     anticipated production of new discovery currently contained on a CD provided by the investigative
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     agency that the government cannot now open.
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 3          b.      Counsel for defendant believes that failure to grant the above-requested continuance

 4 would deny him/her the reasonable time necessary for effective preparation, taking into account the

 5 exercise of due diligence.

 6
            c.      The government does not object to the continuance.
 7
            d.      Based on the above-stated findings, the ends of justice served by continuing the case
 8
     as requested outweigh the interest of the public and the defendant in a trial within the original date
 9

10 prescribed by the Speedy Trial Act.

11          e.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

12 seq., within which trial must commence, the time period of May 27, 2014, to July 28, 2014,

13 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from

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     a continuance granted by the Court at defendant’s request on the basis of the Court's finding that the
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     ends of justice served by taking such action outweigh the best interest of the public and the
16
     defendant in a speedy trial.
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18          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of

19 the Speedy Trial Act dictate that additional time periods are excludable from the period
20 within which a trial must commence.

21
     IT IS SO STIPULATED.
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23 DATED:           May 22, 2014           Respectfully submitted,

24                                         BENJAMIN B. WAGNER
                                           United States Attorney
25
26                                         /s/ Karen A. Escobar___________________
                                           KAREN A. ESCOBAR
27                                         Assistant United States Attorney

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     DATED:       May 22, 2014
 1
                                       /s/ Eric Fogderude _____________
 2                                     ERIC FOGDERUDE
                                       Counsel for Defendant
 3                                     Jesus Mejia
 4
                                              ORDER
 5

 6         IT IS SO ORDER THAT the 3rd Status Conference is continued from May 27, 2014 to July
 7 28, 2014 at 1:00 PM before Judge McAuliffe. Time is excluded pursuant to 18 U.S.C.§

 8 3161(h)(7)(A), B(iv).
 9 IT IS SO ORDERED.

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       Dated:    May 22, 2014                           /s/ Barbara A. McAuliffe          _
11                                                UNITED STATES MAGISTRATE JUDGE
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